              Exhibit 6



Case 4:23-cv-00051 Document 1-6 Filed 11/22/23 Page 1 of 9 PageID #: 59
 1      Robert E. Barnes
        Tennessee BPR No. 020617 (pro hac vice)
 2      BARNES LAW
        700 South Flower Street, Suite 1000
 3      Los Angeles, CA 90017
        Email: robertbarnes@barneslawllp.com
 4      Tel: (310) 510-6211
        Attorneys for Plaintiffs Symantha Reed, Charles Goetz, James Spaulding, Gary Crawford and
 5      Wendy Wharton.
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF TENNESSEE (Jackson)
 8
 9
        Symantha Reed, et al.,                                No.: 1:21-cv-01155-STA
10
                           Plaintiffs,                        PLAINTIFF CHARLES GOETZ’
11                                                            RESPONSES TO DEFENDANT’S FIRST
                v.                                            SET OF INTERROGATORIES.
12
        Tyson Foods, Inc.,
13
                           Defendant.
14
15      _____________________________________

16
                Pursuant to Rule 1 33(b), Plaintiff Charles Goetz (“Plaintiff” or “Responding Party”)
17
        responds to the First Set of Interrogatories by Defendant Tyson Foods, Inc. (“Tyson” or
18
19      “Propounding Party”) as follows.

20
21
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        ///
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        ///
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27
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                1
                    All references to “Rule” are to the Federal Rules of Civil Procedure.
        Case No. 21-1155
        Plaintiff
     Case         Charles Goetz’ Document
          4:23-cv-00051          Responses to Defendant’s
                                              1-6 FiledFirst Set of Interrogatories
                                                          11/22/23      Page 2 of 9   PageID #: 60
                                OBJECTIONS TO ALL INTERROGATORIES
 1
 2             Responding Party has not yet fully completed investigation of the facts relating to

 3     this case, has not fully completed discovery in this action, and has not completed preparation
 4
       for trial. All of the responses contained herein are based only upon such information that is
 5
       presently available to and reasonably and specifically known to this Responding Party. It is
 6
 7     anticipated that further discovery, independent investigation, legal research and analysis will

 8     likely supply additional facts, add meaning to the known facts, as well as establish entirely
 9
       new factual conclusions and legal contentions, all of which may lead to substantial additions
10
       to, changes in, and variations from the responses herein.
11
12             The responses contained herein are made in a good faith effort to supply as much

13     information as is presently known by Responding Party based on personal knowledge, and
14
       is in no way to be to the prejudice of Responding Party in relation to further discovery,
15
       research, or analysis. Responding Party expressly objects to the instructions that accompany
16
17     the interrogatories propounded by the Propounding Party to the extent those instructions are

18     inconsistent with the requirements of the Rules and/or applicable case law, and the responses
19
       by Responding Party reject and will disregard any such instructions. The responses to the
20
       individual interrogatories herein are made subject to these general objections, and in no
21
22     manner constitute a waiver of said objections.

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24
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       ///
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27     ///

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                                                             -1-
        Case No. 21-1155
        Plaintiff Charles Goetz’s Responses to Defendant’s First Set of Interrogatories
     Case 4:23-cv-00051 Document 1-6 Filed 11/22/23 Page 3 of 9 PageID #: 61
                                     RESPONSES TO INTERROGATORIES
 1
 2     No. 1: Identify each person who has knowledge or information, firsthand or otherwise,

 3     regarding the facts and circumstances upon which you base the allegations and claims
 4
       made within the Amended Verified Complaint or the answers given in response to the
 5
       following Interrogatories, and for each such person listed identified provide a brief
 6
 7     description of the facts and circumstances known by that individual.

 8             Response to No. 1: All Tyson upper management and shift managers have
 9
       knowledge or information regarding the facts and circumstances upon which the
10
       allegations and claims made within the Amended Verified Complaint or the answers given
11
12     in response to the subject interrogatories are based. Responding Party is unaware of the

13     names, title, or contact information of all of them. Persons whose names and titles that
14
       Responding Party is aware of in response to this interrogatory are as follows: Sandy Luck
15
       (Chief Medical Officer), Tiffany Cathy (HR Manager), Jeff Tucker (HR Manager),
16
17     Brandon Rodgers (HR Manager), Jimmy Rowland, Rob Muse, Johnny Matheny, Terry

18     Cantrell, Steven McCalister, Jason Kimble, Ben Brown, Carl Lattus, Scotty Mealer,
19
       Bobby Baker, Brandon Ryan, Chris Bing, Jimmy Riley, Kenny Boyd, and Michael Bryant.
20
21
22     No. 2: Identify with specificity and particularity all monetary or non-monetary damages

23     or relief that you seek from the Defendant in this action. For each item of damage, state
24
       separately the factual basis supporting each request, the dollar amount of damages sought,
25
       and precisely how.
26
27
28
                                                             -2-
        Case No. 21-1155
        Plaintiff Charles Goetz’s Responses to Defendant’s First Set of Interrogatories
     Case 4:23-cv-00051 Document 1-6 Filed 11/22/23 Page 4 of 9 PageID #: 62
               Response to No. 2: Objection – This interrogatory attempts to circumvent Rule
 1
 2     33(a)(1) limitation of 25 interrogatories absent leave of court, by making four separate and

 3     distinct interrogatories purportedly under one. Namely, this interrogatory demands
 4
       Responding Party to “Identify with specificity and particularity all monetary or non-
 5
       monetary damages or relief …”. This interrogatory then goes on to demand Responding
 6
 7     Party to separately state the factual basis, dollar amount and “precisely how” each

 8     identified item of damages was calculated.
 9
               Objection – The terms “specificity”, “particularity” and “precisely” are vague and
10
       ambiguous and not specially defined in Propounding Party’s interrogatories. As stated in
11
12     Responding Party’s “OBJECTIONS TO ALL INTERROGATORIES” section above,

13     Responding Party expressly objects to any and all interrogatories to the extent they
14
       demand a response over and above, and/or inconsistent with the requirements of the Rules
15
       and/or applicable case law.
16
17             Subject to and without waiving said objection(s), Responding Party responds that

18     damages sought include declaratory relief that Tyson has violated the Constitutional rights
19
       of Plaintiffs, that Tyson discriminated against the plaintiffs in violation of their state and
20
       constitutional rights; injunctive relief enjoining Tyson from taking adverse employment
21
22     action against the plaintiffs; and an order that the plaintiffs be compensated to the extent

23     allowable under Tennessee state and Federal law for their monetary damages. See further
24
       the Amended Verified Complaint filed in this action on November 18, 2021 (ECF No. 21).
25
       Additionally, Responding Party’s monetary damages include no less than $2,040,000,
26
27     representing Responding Party’s best estimate of unpaid wages as of November 1, 2021.

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                                                             -3-
        Case No. 21-1155
        Plaintiff Charles Goetz’s Responses to Defendant’s First Set of Interrogatories
     Case 4:23-cv-00051 Document 1-6 Filed 11/22/23 Page 5 of 9 PageID #: 63
       Said monetary damages amount is calculated by Responding Party’s annual wages of
 1
 2     $102,000 at the time employment was terminated by Tyson, multiplied by 20 years that

 3     Responding Party would have worked at Tyson before retirement. Responding Party’s
 4
       monetary damages total is upwards of $2,040,000 because Responding Party reasonably
 5
       anticipated wage increases for Responding Party’s ongoing employment at Tyson.
 6
 7
 8     No. 3: Identify any and all expert witnesses or firms that you or your representative
 9
       retained to testify at trial and, with regard to those experts, identify: the full name and
10
       address of the expert witness and the witness’s employer or any organizations with which
11
12     the witness is associated in a professional capacity; the field in which the witness is to be

13     offered as an expert and a summary of the witness’s qualifications within the field in
14
       which the witness is expected to testify; the subject matter on which the expert is expected
15
       to testify; and the substance of the facts and opinions to which the expert is expected to
16
17     testify and a summary of the grounds for each opinion.

18             Response to No. 3: Objection – This interrogatory attempts to circumvent the
19
       Federal Rules relating to disclosure and discovery of party experts, the deadlines of which
20
       have nearly all long passed, by attempting to get Responding Party to disclose detailed
21
22     expert information through the medium of interrogatories.

23             Objection – The information regarding experts demanded by this interrogatory is
24
       protected against disclosure by attorney-client privilege and attorney work product.
25
26
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                                                             -4-
        Case No. 21-1155
        Plaintiff Charles Goetz’s Responses to Defendant’s First Set of Interrogatories
     Case 4:23-cv-00051 Document 1-6 Filed 11/22/23 Page 6 of 9 PageID #: 64
          TENNESSEE

             OBION




                                  25th       August




Case 4:23-cv-00051 Document 1-6 Filed 11/22/23 Page 7 of 9 PageID #: 65
 1                              IN THE UNITED STATES DISTRICT COURT

 2                           WESTERN DISTRICT OF TENNESSEE (Jackson)

 3
       Symantha Reed, et al.,                                No.: 1:21-cv-01155-STA
 4
                       Plaintiffs,                           CERTIFICATE OF SERVICE
 5
              v.
 6
       Tyson Foods, Inc.,
 7
                       Defendant.
 8
       _____________________________________
 9
10
              IT IS HEREBY CERTIFIED THAT:
11
              I, Robert Holzinger, am a citizen of the United States and am at least 18 years of age. My
12
       business address is 700 South Flower Street, Suite 1000, Los Angeles, California 90017.
13
14            I am not a party to the above titled action. I have caused service of “PLAINTIFF

15     CHARLES         GOETZ’        RESPONSES          TO      DEFENDANT’S      FIRST      SET     OF

16     INTERROGATORIES” on the following party(ies) by U.S. mail with courtesy electronic email
17     transmission to the following party(ies):
18
       J. Gregory Grisham
19     FISHER & PHILLIPS, LLP
       1715 Aaron Brenner Drive
20     Suite 312
       Memphis, TN 38120
21     Email: ggrisham@fisherphillips.com
22     Attorneys for Defendant

23     Robert W. Wilson
       OFFICE OF THE TENNESSEE ATTORNEY GENERAL
24     40 South Main Street, Suite 1014
       Memphis, TN 38103-1877
25
       Email: robert.wilson@ag.tn.gov
26     Attorneys for Intervenor State of Tennessee

27
       ///
28
       ///
     Case 4:23-cv-00051 Document 1-6 Filed 11/22/23 Page 8 of 9 PageID #: 66
                                              Certificate Of Service
 1
       Shanell Lanette Tyler
 2
       TENNESSEE ATTORNEY GENERAL’S OFFICE
 3     315 Deaderick Street
       Nashville, TN 38119
 4     Email: shanelltyler@ag.tn.gov
       Attorneys for Intervenor State of Tennessee
 5
 6
             I declare under penalty of perjury that the foregoing is true and correct.
 7
 8           Executed on August 25, 2023.
 9
                                                                      /s/ Robert Holzinger
10
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     Case 4:23-cv-00051 Document 1-6 Filed 11/22/23 Page 9 of 9 PageID #: 67
                                             Certificate Of Service
